                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW MEXICO

In Re:

Timothy Mark Esquibel

                          Debtor.                        Case #: 7-14-11675-TA


                                      MOTION TO REOPEN CASE

         COMES NOW the Debtor by and through his attorney, Don Provencio, P.A. (Don Provencio,

Esq.) and hereby moves this Court for an Order pursuant to Section 350(b) of the Bankruptcy Code and

Rule 5010 of the Bankruptcy Rules reopening this case and as grounds therefore states as follows:

         1. Debtor filed for relief under Chapter 7 of Title 11 on May 30, 2014.

         2. Debtor’s case was discharged and closed on September 8, 2014.

         3. Debtor needs to include an asset that was discovered after the discharge of his bankruptcy.

         4. The reappointment of the Trustee is necessary.

         5. Concurrence of the Chapter 7 Trustee is being sought and not yet received.

         WHEREFORE, Debtor moves the Court for an Order reopening this case and for any and all

relief that the Court deems proper.


Respectfully submitted,

DON PROVENCIO, P.A.


By /s/ Don Provencio, Esq.
  Don Provencio, Esq.
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The undersigned hereby certifies that the forgoing was electronically filed with the Court via the
CM/ECF system and all attorneys, trustees and other parties identified with the Court for electronic
service on the record in this case were served by electronic service in accordance with the CM/ECF
system on the date of filing.



/s/ Don Provencio, Esq.
Don Provencio, Esq.




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